        Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 1 of 7



                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MARYLAND


DEBORAH LAUFER, Individually,          :
                                       : Case No.: 1:20-cv-02135-JKB
           Plaintiffs,                 :
v.                                     :
                                       :
JESSUP QI, LLC, A Georgia Corporation, :
                                       :
           Defendant.                  :
____________________________________ :
                                       :


               ORDER GRANTING PLAINTIFF’S MOTION
              FOR ENTRY OF JUDGMENT AFTER DEFAULT

      Upon consideration of Plaintiff’s Motion for Entry of Judgment after Default,

and the Court having reviewed the record, makes the following findings.

      Pursuant to the provisions of Rule 55(b)(2) of the Federal Rules of Civil

Procedure, this Court hereby enters Judgment after Default against Defendant,

JESSUP QI, LLC. This is an action for injunctive relief and attorneys’ fees and costs

pursuant to 42 U.S.C. §12181, et seq. (“Americans with Disabilities Act” or

“ADA”). The individual Plaintiff, Deborah Laufer, qualifies as a disabled person

within the meaning of the ADA. Plaintiff is unable to engage in the major life

activity of walking more than a few steps without assistive devices. Instead, Plaintiff


                                          7
         Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 2 of 7



is bound to ambulate in a wheelchair or with a cane or other support and has limited

use of her hands. She is unable to tightly grasp, pinch and twist of the wrist. The

subject property is a hotel.

      Defendant was served with the summons and complaint on July 27, 2020. The

Defendant failed to file an answer. Therefore, Plaintiff filed a Request for a Clerk’s

Default. A Clerk’s Default was entered against Defendant on August 31, 2020.

      This Court has original jurisdiction over the action pursuant to 28 U.S.C.

§1331 and 1343 for Plaintiff’s claims arising under 28 U.S.C. §12181, et seq., based

on Defendants’ violations of Title III of the Americans with Disabilities Act (see

also, 28 U.S.C. §2201 and §2202).

      Pursuant to the provisions of Rule 55 of the Federal Rules of Civil Procedure,

when a party against whom affirmative relief is sought has failed to plead or

otherwise defend as provided by the Rules of Civil Procedure, such as the

Defendants in this cause, a default shall be entered against that party. In this

instance, Defendants were properly served with the Complaint filed herein and failed

to respond in any manner. Therefore, a final default judgment is hereby entered by

this Court against Defendant.

      Defendant, as the owner and operator of a place of lodging known as Quality

Inn Near Ft Meade Jessup MD located at 8828 Washington Boulevard Rt. 1,

                                          7
        Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 3 of 7



Jessup, MD 20794, (“the Property” or “the Hotel”), is required to comply with the

ADA, as well as the standards applicable to places of public accommodation, as set

forth in the Code of Federal Regulations, incorporated by reference into the ADA.

These regulations impose requirements pertaining to places of public

accommodation, including places of lodging, to ensure that they are accessible to

disabled individuals. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes

the following requirements:

                      Reservations made by places of lodging.

      A public accommodation that owns, leases or leases to or operates a place of

lodging shall, with respect to reservations made by any means, including by

telephone, in-person, or through a third party –

             (i)     Modify its policies, practices, or procedures to ensure that
                     individuals with disabilities can make reservations for accessible
                     guest rooms during the same hours and in the same manner as
                     individuals who do not need accessible rooms;
             (ii)    Identify and describe accessible features in the hotels and guest
                     rooms offered through its reservations service in enough detail to
                     reasonably permit individuals with disabilities to assess
                     independently whether a given hotel or guest room meets his or
                     her accessibility needs;
             (iii)   Ensure that accessible guest rooms are held for use by individuals
                     with disabilities until all other guest rooms of that type have been
                     rented and the accessible room requested is the only remaining
                     room of that type;
             (iv)    Reserve, upon request, accessible guest rooms or specific types
                     of guest rooms and ensure that the guest rooms requested are

                                            7
        Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 4 of 7



                   blocked and removed from all reservations systems; and
             (v)   Guarantee that the specific accessible guest room reserved
                   through its reservations service is held for the reserving
                   customer, regardless of whether a specific room is held in
                   response to reservations made by others.

The Defendant, either by itself or through a third party, implemented, operates,

controls and/or maintains the following websites for the Property: booking.com,

trip.com, priceline.com, agoda.com, expedia.com, and orbitz.com. Prior to the

commencement of this lawsuit, the Plaintiff visited the websites for the purpose of

reviewing and assessing the accessible features at the Property and ascertain whether

it meets the requirements of 28.C.V.R. Section 36.302(e) and her accessibility needs.

Plaintiff was unable to do so because Defendant has failed to comply with said

requirements, and as a result the Plaintiff was deprived of the same goods, services,

features, facilities, benefits, advantages, and accommodations of the property and

website available to the general public. Plaintiff intends to revisit the Defendant’s

website in the near future to reserve a guest room and otherwise avail herself of the

goods, services, features, facilities, benefits advantages, and accommodations of the

Property, but she is continuously aware that the subject website remains non-

compliant and it would be a futile gesture to revisit the website as long as those

violations exist, unless she is willing to suffer additional discrimination. Venue is

proper in this jurisdiction because this is where the injury occurred.

                                          7
         Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 5 of 7



      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated federal

regulations to implement the requirements of the ADA (attached). 28 CFR Part 36.

Defendant is in violation of 42 U.S.C. 12181 et seq., and 28 CFR 36.302 et seq., and

is discriminating against Plaintiff. The discrimination is based on the Defendant’s

denying Plaintiff full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations as prohibited by 42 U.S.C. §12182

et seq., and by depriving her of the information required to make meaningful choices

for travel. By maintaining the website with violations, Defendant deprives Plaintiff

the equality of opportunity offered to the general public.

      Pursuant to 42 U.S.C. 12188(a)(2), this Court is provided authority to grant

Plaintiff’s injunctive relief, including an Order to alter the website to make it readily

accessible to and useable by individuals with disabilities to the extent required by

the ADA. Courts have granted motions for default judgment based on website

discrimination involving hotel online reservations systems. See, e.g., Kennedy v.

Yaish & Tish Ltd., LLC, 19-cv-61992-RAR, DE 14 (S.D. Fla. 9/27/19); Kennedy

v. Londamerican Real Estate Ltd., 19-cv-61228-SMITH/VALLE, DE 18 (S.D. Fla.

8/21/2019); Kennedy v. Guruhari Hospitality, LLC, 0:19-cv-61139-WPD, DE 18

(S.D. Fla. 7/11/2019); Kennedy v. Moreno, 19-60550-CIV-ALTMAN, DE 20, (S.D.

                                            7
         Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 6 of 7



Fla. 6/26/2019); Kennedy v. Pacifica Tampa Ltd Partnership, 5:17-cv-442-JSM-

PRL, DE 7 (M.D. Fla. 1/25/18). Kennedy v. Fernandez, 19-60876, DE 18 (S.D. Fla.

6/11/2019); Kennedy v. Astoria Hotel Suites, LLC, 19-cv-60160, DE 17 (S.D. Fla.

3/22/19); Kennedy v. Dockside View, LLC, 2:18-cv-14444-KAM (S.D. Fla.

1/19/19); Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE

20 (S.D. Fla. 1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D.

Fla. 1/30/19); Kennedy v. Terrace Park Suites, LLC, 0:19-cv-60012-DPG (S.D. Fla.

3/21/19); Kennedy v. Shree Ram Jalaram, Inc., 19-60708, DE 13 (S.D. Fla.

4/18/2019); and Kennedy v. Rushi Hospitality LLC, 18-cv-62259-WPD, DE 26

(S.D. Fla. 2/6/19). These include the entry of judgment mandating that the

Defendants bring their websites into full compliance with the ADA. Further, the

Courts stated that Plaintiff is entitled to their attorney fees, costs, litigation expenses

and expert fees incurred.

       WHEREFORE, this Court hereby enters Judgment after Default against the

Defendant, enjoining it from discriminating against individuals with disabilities and

remediating its websites to bring it into compliance with the Regulation.

Specifically, Defendant is ordered to carefully review the attached DOJ guidelines




                                             7
        Case 1:20-cv-02135-JKB Document 10 Filed 10/07/20 Page 7 of 7



regarding website compliance. Defendant is further ordered to post 1 thorough

pictures of the interior of each designated accessible room and also post photos of

all the common areas. That way, it would be apparent whether there are compliant

grab bars, handicap parking spaces, etc. Also, Defendant is ordered to identify the

accessible rooms on their websites and make them available for booking in the same

manner as their other rooms2.

      This _____ day of __________, 2020.



                                ____________________________
                                UNITED STATES DISTRICT JUDGE

**Order prepared and submitted by attorney for Plaintiff.




1 This Court recognizes that Defendant does not directly control the content of the
Subject Websites. Therefore, the word “post” here means that Defendant is ordered
to provide the Subject Websites with the necessary information and photos and
following up with the Subject Websites to ensure the information and photos are
posted.
2 For example, on any given website, where the rooms are listed, the list should
include something like: "King bed - accessible (and then contain photos of
everything in the room) and the usual "BOOK NOW" option.
                                         7
